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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 CAMPAIGN LEGAL CENTER,

                       Plaintiff,

                v.                                 Civil Action No. 1:20-cv-0809-ABJ

 FEDERAL ELECTION COMMISSION,

                       Defendant.



 PLAINTIFF’S NOTICE REGARDING THE FEDERAL ELECTION COMMISSION’S
                             QUORUM

       Plaintiff Campaign Legal Center (“CLC”) hereby submits this notice in support of its

Motion for Default, ECF 11.

       1.      As recounted in Plaintiff’s Motion, Defendant Federal Election Commission (FEC)

lost a quorum of Commissioners on September 1, 2019, rendering it unable to take action on

enforcement matters, including the matter underlying the instant action. ECF 11 ¶¶ 13-14.

       2.      On May 19, 2020, the U.S. Senate confirmed the nomination of James E. Trainor

III to be a member of the Federal Election Commission. Id. ¶ 15.

       3.      On June 5, 2020, Commissioner Trainor was sworn into office, restoring the

quorum of Commissioners necessary to take action on enforcement actions and to defend lawsuits

against the FEC. See FEC’s Response to Order to Show Cause at 2-3, ECF No. 19, Campaign

Legal Center v. FEC, No. 1:20-cv-00588-BAH (D.D.C. filed on July 20, 2020).

       4.      On June 26, 2020, then-Commissioner Caroline Hunter announced her resignation

from the FEC, effective July 3. See FEC Press Release, Caroline C. Hunter to Depart Federal



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Election Commission (June 26, 2020), https://www.fec.gov/updates/caroline-c-hunter-depart-

federalelection-commission/. Commissioner Hunter’s resignation deprived the FEC of its quorum

once again, effective July 3.

         5.       Also on June 26, 2020, President Trump announced his intent to nominate Allen

Dickerson to be a member of the FEC. See White House Press Release, President Trump

Announces Intent to Nominate and Appoint Individuals to Key Administration Posts (June 26,

2020),        https://www.whitehouse.gov/presidential-actions/president-donald-j-trump-announces-

intent-nominate-appoint-individuals-key-administration-posts-43/.

         6.       It has been six weeks since Mr. Dickerson’s nomination was announced, but his

nomination has not yet been sent to the Senate. See Nominations, United States Senate,

https://www.senate.gov/legislative/nominations_new.htm (search for “Allen Dickerson” returns

one result from 1988).

         7.       The President’s announcement of his intention to nominate Mr. Dickerson does not

mean that Mr. Dickerson will be nominated or confirmed in the near future, as the last time

President Trump announced his intent to nominate an FEC Commissioner, the time between that

announcement and the Commissioner’s confirmation was 978 days. See White House Press

Release, President Trump Announces Intent to Nominate and Appoint Individuals to Key

Administration Posts (September 12, 2017); supra ¶ 2.

         8.       To date, Plaintiff has received no indication that the Commission has taken any

action with respect to the underlying complaint, MUR 7486.




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Dated: August 11, 2020                    Respectfully submitted,

                                          /s/ Mark P .Gaber


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